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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
DREW DIXON,                                                            :
                                                                       :
                                    Plaintiff,                         :         23-CV-09878 (JAV)
                                                                       :
                  -v-                                                  :     SCHEDULING ORDER ON
                                                                       :     MOTION TO WITHDRAW
ANTONIO MARQUIS “L.A.” REID,                                           :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JEANNETTE A. VARGAS, United States District Judge:

        On June 9, 2025, attorneys Shawn Holley, Esq., Gregory Korn, Esq., Suann MacIsaac,

Esq., and Kate Mangels, Esq., of the firm Kinsella Holley Iser Kump Steinsapir LLP

(individually and collectively, “Defendant’s Counsel”) moved for leave of this Court to

withdraw as counsel of record for Defendant Antonio Marquis “L.A.” Reid. (ECF No. 132). On

June 10, 2025, this Court issued an Order requiring that any opposition to counsel’s motion shall

be filed by June 23, 2025. (ECF No. 134). On June 22, 2025, Plaintiff filed an Opposition and

Declaration in response to Defendant’s Counsel’s Motion to Withdraw. (ECF Nos. 156 and

157.)

        The Court will hold a hearing with respect to Defendant’s Counsel’s motion to withdraw

on July 9, 2025, at 12:00 p.m., in Courtroom 14C, United States Courthouse, 500 Pearl Street,

New York, NY 10007. If Mr. Reid wishes to be heard on the Motion to Withdraw, he may

attend the hearing or submit a response in writing to the Court prior to the hearing date.
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       No later than June 25, 2025, Defendant’s Counsel shall serve a copy of all motion papers,

including Plaintiff’s opposition papers, and this Order on Defendant Reid and file proof of such

service on the docket.

       SO ORDERED.

Dated: June 24, 2025                              _________________________ ________
       New York, New York                               JEANNETTE A. VARGAS
                                                        United States District Judge
